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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       CRIMINAL NO.: 22-cr-48 (CJN)
                                             :
               v.                            :
                                             :
                                             :
MARTIN KAO,                                  :
                                             :
                         Defendant.          :


                                      STATUS REPORT

       On September 27, 2022, Defendant Martin Kao pleaded guilty in the present matter

pursuant to a plea agreement. See Dkt. No. 33. As part of this agreement, the Government agreed

not to object to any request that a sentence imposed on the Defendant in the current matter be

served concurrently with any sentence from the Defendant’s other criminal conviction in the

District of Hawaii (Case No. 1:21-cr-00061 (LEK)). The Defendant requested that the Court

continue his sentencing in the District of Columbia until after he had been sentenced in Hawaii.

See Dkt. No. 48. This request has been renewed and granted. See Dkt. 65. At the time of the

second request to schedule sentencing in this matter after the conclusion of sentencing in the

District of Hawaii, the parties represented to the Court that sentencing in the District Hawaii was

scheduled to take place in September 2023. That sentencing was subsequently continued several

times. See Dkt. Nos. 119, 124, 126, 127, 138. On October 10, 2024, that sentencing in the District

of Hawaii was continued until February 13, 2025. See Dkt. No. 142. Consistent with previous

status reports, the parties respectfully propose updating the Court on the resolution of sentencing

in the District of Hawaii no more than one week after the sentencing hearing is concluded.




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                             Respectfully submitted,

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